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 4
 5   Attorney for Defendant, PHIM KHAMPHALA
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                     )        CASE NUMBER: 1:07-cr-00268-OWW
                                                   )
11                         Plaintiff,              )
                                                   )        STIPULATION AND ORDER FOR A
12   v.                                            )        RESETTING OF HEARING ON REPORT
                                                   )        OF PROBATION OFFICER
13   PHIM KHAMPHALA, et al.,                       )
                                                   )
14                         Defendants.             )
                                                   )
15
16          IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and the
17   defendant by and through his attorney, that the date set for hearing on the presentence report of the
18   probation officer and sentencing be extended as follows:
19                 Probation Report available to defense counsel: move from March 23,
                   2009 to April 13, 2009.
20
21                 Defense Counsel’s Informal Objections due to Probation and AUSA:
                   move from April 6, 2009 to April 27, 2009.
22
23                 Formal Objections must be filed with the Court and served on
                   Probation and AUSA: move from April 20, 2009 to May 11, 2009.
24
25                 RPO Hearing: move from April 27, 2009 at 9:00 a.m. to May 18,
                   2009 at 9:00 a.m.
26
27          The reason for moving the hearing is because defense counsel is out of the country on U.S. v.
28   James Ninete Leon Guerrero, Case No.: 1:08-CR-00259-OWW.
           Case 1:07-cr-00268-AWI Document 209 Filed 03/12/09 Page 2 of 2


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 2   ///
 3   ///
 4   ///
 5                                               Respectfully submitted,
 6
 7   DATED: March 11, 2009                       /s/ Salvatore Sciandra
                                                 SALVATORE SCIANDRA
 8                                               Attorney for Defendant,
                                                 PHIM KHAMPHALA
 9
10
11   DATED: March 11, 2009                       /s/ Laurel Montoya
                                                 LAUREL MONTOYA
12                                               Assistant United States Attorney
13
14                                          ORDER
15           IT IS SO ORDERED.
16   Dated: March 11, 2009                     /s/ Oliver W. Wanger
     emm0d6                               UNITED STATES DISTRICT JUDGE
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